            Case 1:20-cv-03010-MKD                   ECF No. 20          filed 06/24/20     PageID.853 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                             FILED IN THE
                                                                  for thH_                                    U.S. DISTRICT COURT
                                                                                                        EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                         CAROLYN S.,                                                                     Jun 24, 2020
                                                                                                              SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 1:20-cv-03010-MKD
                                                                     )
                  ANDREW M. SAUL,                                    )
               COMMISSIONER OF SOCIAL
                     SECURITY,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 14, is GRANTED. Defendant’s Motion for Summary Judgment,
u
              ECF No. 17, is DENIED. JUDGMENT entered in favor of Plaintiff REVERSING and REMANDING the matter to the
              Commissioner of Social Security for further proceedings consistent with this Court's order at ECF No. 19 pursuant to
              sentence four of 42 U.S.C. § 405(g).


This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                Mary K. Dimke                                                on motionV forVXPPDU\MXGJPHQW




Date: June 25, 2020                                                         CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Pam Howard
                                                                                           %\ Deputy Clerk

                                                                             Pam Howard
